     Case 1:15-cv-07433-LAP Document 1135 Filed 10/21/20 Page 1 of 1


                                                                       Haddon, Morgan and Foreman, P.C
                                                                                    Laura A. Menninger


                                                                                      150 East 10th Avenue
                                                                                  Denver, Colorado 80203
                                                                         PH   303.831.7364 FX 303.832.2628
                                                                                         www.hmflaw.com
                                                                                 LMenninger@hmflaw.com




October 21, 2020

Honorable Loretta A. Preska
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

Re: Proposed Redactions to Sealed Materials Related to Non-Parties
    Giuffre v. Ghislaine Maxwell, No. 15 Civ. 7433 (LAP)

Dear Judge Preska:

        By contemporaneous email to the Court, Ms. Maxwell is submitting any proposed
redactions to the materials to be unsealed tomorrow morning that are in conflict with
Plaintiff’s proposed redactions. These redactions all relate to “descriptions of nonparty
conduct that would allow readers to discern the identity of a given non-party.”

        Last night at 8:15 p.m., counsel for Ms. Maxwell received Plaintiff’s proposed
redactions. Counsel reviewed the proposed redactions to Ms. Maxwell’s 465-page deposition
transcript and conferred with Plaintiff’s counsel regarding her proposed redactions during a
telephone conference at 1 p.m. today. While undersigned counsel explained the bases for her
disagreement and pointed out other areas that should be redacted, Ms. McCawley simply
stated that she disagreed without explanation.

        Counsel for Ms. Maxwell believes that her proposed additional redactions comport
with the Court’s direction that Non-Parties be given the opportunity to review and object
before any information identifying their identity or any conduct attributed to them (including
as either an alleged victim of Mr. Epstein’s abuse or as a perpetrator of any such abuse) is
disclosed publicly.


                                             Respectfully submitted,



                                             Laura A. Menninger

CC: Counsel of Record via ECF
